                          Case 1:06-cr-00033-OWW Document 35 Filed 06/22/06 PageQQI
                                                                                 1 of 1
                                               United States District Court
                                         EASTERN DISTRICT OF CALIFORNIA

                                                                                                    m.

                                                                1
                 United States of America                       1
                            VS.
                      Claudia Mata                               1
                                                                     Case No. 1:06-CR-33 OWW                                           .
                      CONSENT TO MODIFY CONDITIONS OF RELEASE
1,         Claudia Mata           , have discussed with                            Dan Stark                   , Pretrial Services
Officer, modifications of my release conditions as follows:

Vacate the following condition: The defendant shall participate in the following home confinement program components and abide by
all the requirements ofthe program which will include passive GPS tracking. HOME DETENTION: You are restricted to your residence
at all timesexcept foremployment; attorney visits; court appearances, and court-ordered obligations as approved in advance by the Pretrial
Services Officer.

All other terms and conditions of release, not in conflict, retnain in full force and effect.

I consnt to this modification of my release conditions and agree                                                     education;

                                                (/. s-&                                                             d- zt-.z o o b
                                               Date                             Pretrial Services Officer           Date


1 have reyiewed the conditiqfls and concur that this modification is appropriate.
      :
Signature of Assistant United ~ t a t e k x t t o r n e ~                                             Date



I have~eviewedthe conditions with my client and concur that this modification is appropriate.

                                                                                                         (9-22-Db
                                                                                                      Date




d                                         ORDER OF THE COURT
      The above modification of conditions of release is ordered, to be effective on
      The above modification of conditions of release is nor ordered.
                                                                                                         I




cc:       U.S. Attorney's Ofice, Defense Counsel, Pretrial Services
